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January 8, 2025

VIA ECF

The Honorable Matthew F. Kennelly
Everett McKinley Dirksen Courthouse
Courtroom 2103 | Chambers 2188
219 South Dearborn Street
Chicago, Illinois 60604
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       Initial Status Report:
                Govea v. National Potato Promotion Board Case Number 1:24-cv-11816

Dear Judge Kennelly,

Pursuant to Your Honor’s Minute Entry (at ECF No. 4), on behalf of Plaintiff Alexander Govea,
we write to offer this initial status report regarding the above-captioned litigation.

Status of Service. By way of background, there are eighteen cases pending in the Northern District
of Illinois regarding the exact same allegations. These allegations, as detailed in Plaintiff Govea’s
first-filed indirect purchaser consumer antitrust complaint, involve a price-fixing scheme between
the four major frozen potato producers in the United States (J.R. Simplot, Lamb Weston, McCain
Foods and Cavendish Farms) along with the help of a trade association (the National Potato
Promotion Board) and a data aggregator, Circana.

Plaintiffs’ counsel in all eighteen actions have jointly been in communications with Defendants
J.R. Simplot, Lamb Weston, McCain Foods, Cavendish Farms and Circana regarding waiver of
service of the summons and complaint pursuant to Federal Rule of Civil Procedure 4.
Additionally, Plaintiffs are working on a stipulation to that effect as well as a stipulation to agree
to consolidate the eighteen cases for purposes of relatedness, setting a briefing schedule regarding
appointments for interim co-lead counsel under Federal Rule of Civil Procedure 23(g), setting a
date for a consolidated amended class action complaint to be filed, and a briefing schedule for
potential motions to dismiss. We expect that stipulation to be filed by the end of this week.
Finally, Defendant National Potato Promotion Board is being served using a traditional service
of process method, which should be completed shortly.
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Description of the Claims. Plaintiff Govea, as well as the other seventeen complaints which have
been filed, bring both federal and state antitrust causes of action alleging price-fixing by the
Defendants. This price-fixing scheme, as alleged, involves the use of Circana’s “PotatoTrac”
technology, which allowed each of the four frozen potato producers to impose supracompetitive
prices on downstream purchasers by eliminating price competition.

Settlement Discussions. At this time, there are no settlement discussions being had between the
parties.

Proposed Discovery and Pretrial Schedule. At this time, there is no agreed upon proposed
discovery and pretrial schedule.

                                            Respectfully submitted,

                                            /s/ Blake Hunter Yagman
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